                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         Civil Action No: 1:24-cv-00103-CCE-JLW

TAMMY MCCRAE-COLEY,

                       Plaintiff,

v.

THOMAS L. CARDELLA &
                                                   DEFENDANTS’ JOINT MOTION
ASSOCIATES, INC., d/b/a TLC
                                                      TO DISMISS THE FIRST
ASSOCIATES,
                                                     AMENDED COMPLAINT
and

INFOCISION, INC.,

                       Defendants.


       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Thomas L.

Cardella & Associates, Inc. and InfoCision, Inc. (collectively, “Defendants”) respectfully

move to dismiss this action in its entirety for failure to state a claim. In a previous

arbitration addressing the same claims and calls at issue here, the arbitration award

established facts that preclude two of Plaintiffs claims, and Plaintiff is collaterally

estopped from re-litigating those claims now. Plaintiff’s remaining claim is also subject

to dismissal because it fails to allege any factual basis with which to establish the existence

of a statutory violation. A memorandum in support is filed contemporaneously with this

Motion.




PPAB 10680248v2

      Case 1:24-cv-00103-CCE-JLW Document 19 Filed 03/26/24 Page 1 of 3
Respectfully submitted, this 26th day of March, 2024.



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                                 /s/ Philip J. Mohr
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                                 Counsel for Defendant Thomas L. Cardella &
                                 Associates, Inc.




                                    2


Case 1:24-cv-00103-CCE-JLW Document 19 Filed 03/26/24 Page 2 of 3
                            CERTIFICATE OF SERVICE

      I hereby certify that on this date the foregoing “Defendants’ Joint Motion to

Dismiss the First Amended Complaint” was electronically filed with the Clerk of Court

using the CM/ECF system and served upon counsel of record via the Court’s electronic

case filing system and upon Pro Se Plaintiff via First Class Mail and email, addressed as

follows:


                                 Tammy McCrae-Coley
                                 1400 Battleground Avenue
                                 Suite 116-L
                                 Greensboro, NC 27408
                                 Email: tammycoleyjd@gmail.com


      This 26th day of March, 2024.


                                         /s/ Jason R. Benton
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                                           3


      Case 1:24-cv-00103-CCE-JLW Document 19 Filed 03/26/24 Page 3 of 3
